Case 3:19-cv-21248-BRM-LHG Document 38-5 Filed 06/12/20 Page 1 of 5 PagelD: 447

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

THE TRUSTEES OF PRINCETON

UNIVERSITY,
Plaintiff, }
‘Civil Action No.
Vv. | 3:19-cv-21248-BRM-LHG
TOD WILLIAMS BILLIE TSIEN : Motion Return Date:
ARCHITECTS, LLP; JACOBS : July 6, 2020

ARCHITECTS/ENGINEERS, INC.;
and JACOBS CONSULTANCY INC.,

Defendants. |!

 

TOD WILLIAMS BILLIE TSIEN
ARCHITECTS, LLP, '
Defendant / |
Third-Party Plaintiff, :

Vv.

ARUP, USA, INC., THE

BALLINGER COMPANY, SEVERUD
ASSOCIATES CONSULTING
ENGINEERS, P.C., FISHER
MARANTZ STONE, FRANK HUBACH
ASSOCIATES, INC., F.J. SCIAME :
CONSTRUCTION COMPANY, INC.,
JOHN DOES 1-10 and ABC
CORPORATIONS 1-10,

Third-Party Defendants. !
CERTIFICATION OF COUNSEL
I, John M. Becker, Esquire, do hereby certify unto law and

say:
Case 3:19-cv-21248-BRM-LHG Document 38-5 Filed 06/12/20 Page 2 of 5 PagelD: 448

1. I am in attorney-and-law of the State of New Jersey
and a member of Thompson Becker, LLC, which is counsel for
Defendant Tod Williams Billie Tsien Architects, LLP. As such, I
am fully familiar with the facts and procedural history of this

case.

2. Attached hereto as Exhibit “1” is an email from the
court dated June 4, 2020 clarifying the Scheduling Order dated
May 13, 2020.

I hereby certify that the foregoing statements made by me
are true. I am aware that if any of the foregoing statements
made by me are willfully false, I am subject to punishment.

THOMPSON BECKER, L.L.C.

By: John M. Becker, Esquire
I.D. #8515

Ten Melrose Avenue

Woodcrest Pavilion, Suite 400
Cherry Hill, New Jersey 08003
Phone: (856) 616-8886
Facsimile: (856) 616-9118

Our File No. 7500-091
jbecker@thompsonbeckerlaw.com
Attorneys for Defendant,

Tod Williams Billie Tsien Architects,
LLP

  

By:

Dated: June 12, 2020 . BeckeY, Esquire
Case 3:19-cv-21248-BRM-LHG Document 38-5 Filed 06/12/20 Page 3 of 5 PagelD: 449

 

L*J

 

 

 

XHIBIT 1
Case 3:19-cv-21248-BRM-LHG Document 38-5 Filed 06/12/20 Page 4 of 5 PagelD: 450

John Becker
essere

From: John Becker

Sent: Thursday, June 04, 2020 5:33 PM

To: Angela Juneau-Bezer; NJDdb_Orders_ Goodman

Ce: Biser, Sarah B.; Kathy Barnes; Lederman, Stuart; Pagano, Brian D.; Randazzo, Rudy; Loryn
P. Riggiola; Ira Schulman; Langer, Philip Z.; Pollock, Jeffrey M.; Jason E. Kosek; Fuga,
Andrew J.

Subject: RE: The Trustees of Princeton University v. Tod Williams Billie Tsien Architects, LLP Civil

Action No. 3:19-cv-21248-BRM-LHG

Thank you for the clarification.

John M. Becker, Esq.
Thompson Becker LLC

Ten Melrose Ave.

Suite 400

Cherry Hill, NJ 08003
856-616-8886 (v)

856-616-9118 (f)
609-922-3474 (m)
www.thompsonbeckerlaw.com
Attorney Bio: Click Here

From: Angela Juneau-Bezer <Angela_JuneauBezer@njd.uscourts.gov>

Sent: Thursday, June 04, 2020 11:43 AM

To: John Becker <JBecker@thompsonbeckerlaw.com>; NJDdb_Orders_Goodman <lhg_orders@njd.uscourts.gov>

Ce: Biser, Sarah B. <sbiser@foxrothschild.com>; Kathy Barnes <kbarnes@watttieder.com>; Lederman, Stuart
<SLEDERMAN@riker.com>; Pagano, Brian D. <BDPagano@burnswhite.com>; Randazzo, Rudy <rrandazzo@riker.com>;
Loryn P. Riggiola <lriggiola@ZDLAW.com>; Ira Schulman <ISchulman@sheppardmullin.com>; Langer, Philip Z.
<planger@foxrothschild.com>; Pollock, Jeffrey M. <JMPollock@foxrothschild.com>; Jason E. Kosek
<jkosek@zdlaw.com>; Fuga, Andrew J. <AJFuga@burnswhite.com>

Subject: Re: The Trustees of Princeton University v. Tod Williams Billie Tsien Architects, LLP Civil Action No. 3:19-cv-
21248-BRM-LHG

Counsel,

My apologies for the confusion in the scheduling order. The third unnumbered Paragraph was not intended to apply
only to Plaintiff. All motions to amend, whether to amend a pleading to add claims or defendants, must be on consent
or by leave of the Court. Leave has not been given to any party here.

Thus, unnumbered paragraph 2, which states that any party shall name third party defendants by June 30, should be
stricken, and the third unnumbered paragraph applies to both Plaintiff and Defendants both to amend pleadings or join
new parties.
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Thank you,

Sent from Outlook Mobile

 

From: John Becker <JBecker@thompsonbeckerlaw.com>

Sent: Wednesday, June 3, 2020, 3:51 PM

To: NJDdb_Orders_Goodman

Cc: Biser, Sarah B.; Kathy Barnes; Lederman, Stuart; Pagano, Brian D.; Randazzo, Rudy; Loryn P. Riggiola; Ira Schulman;
Langer, Philip Z.; Pollock, Jeffrey M.; Jason E. Kosek; Fuga, Andrew J.

Subject: The Trustees of Princeton University v. Tod Williams Billie Tsien Architects, LLP Civil Action No. 3:19-cv-21248-
BRM-LHG

Dear Judge Goodman:

Please find attached correspondence seeking Your Honor’s clarification and guidance
regarding the May 13 Scheduling Order.

Respectfully submitted,

John M. Becker, Esq.
Thompson Becker LLC

Ten Melrose Ave.

Suite 400

Cherry Hill, NJ 08003
856-616-8886 (v)

856-616-9118 (f)
609-922-3474 (m)
www.thompsonbeckerlaw.com
Attorney Bio: Click Here
